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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF DELAWARE


 IN RE GOOGLE INC. COOKIE                   Case No. 12-MD-2358 (ER)
 PLACEMENT CONSUMER PRIVACY
 LITIGATION




 This Document Relates to:
 All Actions




   DECLARATION OF BRIAN R. STRANGE IN SUPPORT OF MOTION FOR FINAL
              APPROVAL OF CLASS ACTION SETTLEMENT


 STRANGE LLP                                SILVERMAN THOMPSON SLUTKIN
                                            WHITE
 /s/ Brian R. Strange
 Brian Russell Strange                      /s/ Stephen G. Grygiel
 12100 Wilshire Blvd., Suite 420            Stephen G. Grygiel (DE Bar ID #4944)
 Los Angeles, CA 90025                      201 N. Charles Street, 26th Floor
 Tel: 310-207-5055                          Baltimore, MD 21201
 brian@strangellp.com                       Tel: 443-909-7516
                                            sgrygiel@silvermanthompson.com
 Executive Committee Member
                                            Executive Committee Member

 BARTIMUS, FRICKLETON,
 and ROBERTSON, P.C.

 /s/ James P. Frickleton
 James P. Frickleton
 Mary D. Winter
 Edward D. Robertston, Jr.
 11150 Overbrook Road, Suite 200
 Leawood, KS 66211
 Tel: 913-266-2300
 jimf@bflawfirm.com

 Executive Committee Member
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        I, Brian R. Strange, having first been duly sworn, declare:

        1.      I am a Partner in the law firm of Strange LLP, one of the lead counsel appointed

 by the Court in this MDL and a member of the Executive Committee in this case. This

 declaration is based on my own personal knowledge and, if called to testify, I could and would

 competently testify hereto under oath.

        2.      This declaration in submitted in support of Plaintiffs’ Motion for Final Approval

 of Class Action Settlement with Defendant Google Inc. (“Google”) for certification of a

 Settlement Class and for the appointment of Plaintiffs Jose M. Bermudez, Nicholas Todd

 Heinrich, and Lynne Krause as Class Representatives for the Settlement Class and for the

 appointment of Class Counsel to represent the Settlement Class.

        3.      After discussions with Google’s counsel that spanned several months, the parties

 held a mediation in this case on May 9, 2016 before retired federal Judge Layn Phillips. During

 the mediation, the parties agreed to the basic terms of the settlement. The settlement was

 reached following arm’s length negotiations considering the history of the case, the liability and

 damage potential, and the risks of future litigation. Prior to reaching a settlement, I along with

 other members of the Executive Committee made a thorough investigation of the facts and

 circumstances relevant to this litigation.

        4.      A true and correct copy of the signed Settlement Agreement between Plaintiffs

 and Google has been provided to the Court along with the Motion for Preliminary Approval of

 this settlement and is attached hereto as Exhibit A. The Court issued its Order preliminarily

 approving the settlement on October 15, 2021. (D.I. 203.) As part of the Settlement Agreement,

 Google has agreed to fund a Settlement Fund of $5,500,000.00, to be distributed to a designated

 cy pres recipients after payment of costs related to the Agreement, including the expenses of the


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 Settlement Administrator, the Notice Plan, Incentive Awards, the Fee Award, and any other

 administrative expenses and fees in connection with the Agreement. The Notice Plan approved

 and ordered by the Court in its Preliminary Approval order has been accomplished.                A

 separate declaration will be filed by the Class Administrator in connection with Plaintiffs’ Final

 Approval Motion.

        5.      The proposed Settlement is, in my experienced opinion, a fair resolution of

 Plaintiffs’ claims, which are procedurally and legally complex class action claims that have been

 pending for more than a decade. This case was heavily litigated and contested, and involved a

 substantial amount of work and an outlay of significant expenses. Defendants have a number of

 defenses to the merits and class certification of Plaintiffs’ claims making the uncertainty of

 litigation evident were the Settlement Class to continue on to class certification and trial. The

 proposed Settlement was reached only after discovery had begun and substantial litigation had

 taken place over the course of years.

        6.      Plaintiffs filed for preliminary approval of the Settlement on January 3, 2020 and

 the Court, on October 15, 2021, found the Settlement to be preliminarily fair, reasonable, and

 adequate. Strange LLP was appointed as co-lead Class Counsel in connection with the

 Settlement along with the other firms comprising the Executive Committee. A true and correct

 copy of the Court’s Order granting preliminary approval to the Settlement is attached hereto as

 Exhibit B.

                                      Settlement Negotiations

        7.      Due to the extensive motion and appellate work (in addition to preliminary

 discovery exchanges) that preceded the settlement negotiations, all counsel had full knowledge

 of the strengths and weaknesses of all parties’ claims at the time of the parties’ mediation and


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 negotiations. This knowledge was furthered by the extensive pre-mediation briefing that the

 parties undertook in preparation for their May 9, 2016 mediation with former federal Judge Layn

 Phillips. Guided by Judge Phillips’ probing questions, the parties further answered extensive

 questioning about the strengths and weaknesses of their cases on the merits, at class certification,

 and of their damages theories. The proposed Settlement was reached following extensive arm’s

 length negotiations that included a full-day mediation before the highly-respected and

 experienced Judge Phillips, as well as additional back-and-forth negotiations between the parties

 (and sometimes involving Judge Phillips and/or his staff) regarding the specific terms of the

 proposed Settlement. Over the course of the next month, the parties diligently continued

 working out the details of the proposed agreement, which was finally agreed to and fully-

 executed on June 30, 2016. As a result, the Settlement is the product intensive formal mediation

 and lengthy negotiations by knowledgeable and experienced counsel on all sides.

        8.      Throughout the course of settlement negotiations, the parties took into

 consideration Judge Phillips’ invaluable input and guidance; the potential liability and damage

 issues; the risks of class certification, summary judgment, and/or trial; the possibility of appeals

 of any judgment and/or rulings of the trial court; and how these factors could add to the cost,

 delay, and uncertainty of litigation. Based on our reasoned judgment, Class Counsel believe the

 proposed Settlement is fair and reasonable and should be finally approved by this Court.

                                Cy Pres Recipient Selection Process

        9.      Following remand from the Third Circuit, Plaintiffs and Google extensively met

 and conferred in order to arrive at a compromise designed to address the Third Circuit’s stated

 concerns about the cy pres recipient selection process. Based on those extensive negotiations,

 Plaintiffs and Google have arrived at the following requirements to ensure that there is no bias on


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 the part of any of the parties that could impact the selection of any potential cy pres recipient,

 consistent with the Third Circuits’ decision:

                A. Up to ten cy pres recipients to be selected by a neutral third party, and not by

                    the parties;

                B. The Court will appoint the third-party neutral to select the proposed cy pres

                    recipients;

                C. The selected cy pres recipients must satisfy the eligibility criteria identified in

                    the Settlement Agreement and must agree to use the funds for the purpose

                    identified in the Settlement Agreement;

                D. The selected cy pres recipients must submit a sworn declaration that (1)

                    confirms their eligibility to receive funds under the Settlement Agreement; (2)

                    confirms their promise to use the funds in accordance with the Settlement

                    Agreement; and (3) discloses any existing or prior relationship to the Court,

                    the parties, and/or counsel, including prior donations or cy pres distributions

                    from the parties; and

                E. The selected cy pres recipients must send a witness to the final approval

                    hearing for questioning by the Court, if requested.

        10.     Class Counsel believes that the above cy pres selection process, which is the only

 material change from the original Settlement Agreement, addresses the concerns laid out in the

 Third Circuit’s prior decision in this case, and adopts the fix suggested by that Court in its

 opinion.

              The Settlement Provides Substantial Benefits to the Settlement Class

        11.     Given the size of the potential class and the issues involved, the parties believe


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 that the distribution of the Settlement Fund to cy pres recipients who must agree to use the funds

 to promote public awareness and education and/or support research, development, and initiatives

 related to the security and/or privacy of Internet browsers is the best use of the settlement

 proceeds. It would not be practicable to distribute the Settlement funds to potentially millions of

 Class Members and the actual damages of Class Members are likely minimal and difficult to

 calculate.

        12.     Google will provide Class Counsel with assurances that it implemented systems

 configured to instruct Safari brand web browsers to expire any cookie placed from the

 Doubleclick.net domain by Google if those systems encountered such a cookie, with the

 exception of the Doubleclick opt-out cookie, until the time that all cookies placed from the

 Doubleclick.net domain by Google on Safari brand web browsers through February 15, 2012

 should have expired by design.

        13.     Although Plaintiffs’ counsel intended to present strong evidence that Google’s

 cookie circumvention technique violated California common law and constitutional principles,

 that this case should be certified as a class action, and that such class should be entitled to

 damages, we understand that Google would be prepared to mount a vigorous defense on these

 issues. Given the risks and uncertainties of litigation, Class Counsel believe that this settlement

 with Google provides meaningful benefits to the class and is reasonable. Class Counsel have

 considered the fact that Google has already made a substantial payment of approximately

 $39,500,000.00 to the Federal Trade Commission and various state governments arising under

 the same conduct alleged by Plaintiffs ensuring that, as a result, Google has not made any

 financial gain from the alleged conduct at issue in this case.




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                      The Notice Plan Provided the Best Notice Practicable

        14.     The parties proposed a careful notice plan which the Court found would provide

 the best practicable notice to the Settlement Class in its October 15, 2021 Preliminary Approval

 Order. The parties have since timely executed the multi-communication notice plan, which

 included publication notice in a leading national magazine, online advertisements on widely-

 viewed websites visited with Apple Safari and Microsoft Internet Explorer web browsers, and

 social media advertisements on the widely-used Facebook, Instagram, and Reddit websites.

 More detail about the notice plan can be found in the concurrently-filed declaration of the Class

 Administrator, Epiq Class Action & Claims Solutions, Inc.

        15.     Each form of notice linked and/or directed Class Members to the Long Form

 Notice, which described the basic terms of the Settlement; the amount of attorneys’ fees, costs,

 and incentive awards that was previously granted by the Court; their rights to object and/or opt-

 out of the Settlement and their deadlines to do so; and the place of the final approval hearing to

 be held on a future date determined by the Court.

        16.     As of the filing of this declaration, Class Counsel have received only two

 objections filed to the Settlement.

                       Experienced Class Counsel Endorse the Settlement

        17.     Class Counsel, who are experienced in class actions, have spent a considerable

 amount of time and effort litigating these cases for more than a decade. Class Counsel believe

 Plaintiffs’ claims are strong. At the same time, however, Class Counsel recognize the numerous

 hurdles and areas of uncertainty present in this case. Based on this uncertainty, and considering

 Google’s likely defenses and the risks of further litigation, this Settlement is an excellent result

 for Class Members in Class Counsel’s experienced opinion. Based on Class Counsel’s reasoned


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 judgment, we believe this Settlement is fair and reasonable and should be approved by this

 Court.

          18.   The question of competent and vigorous representation is met.              I am an

 experienced trial lawyer and litigation strategist and have been involved in MDL proceedings

 and complex litigation for more than 30 years. This Court has previously recognized as much in

 appointing my firm (along with the other two members of the Executive Committee) as interim

 Class Counsel pursuant to Rule 23(g)(3) of the Federal Rules of Civil Procedure. (D.I. 44.) In

 doing so, the Court noted our firms’ “experience in large class actions and with substantial

 privacy rights litigation,” our “impressive credentials and the underlying qualifications to serve

 as lead counsel,” our “understanding of the legal issues,” our “work to identify or investigate

 potential claims,” and “the resources [we] will bring to bear on behalf of the putative class.” (Id.

 at 3–4.)

          19.   As the Court has recognized, I have substantial experience in complex class

 actions, including cases similar to this, having served and still serving as class counsel in

 numerous federal and state consumer fraud actions which have resulted in tens of millions of

 dollars being returned to consumers, as well as privacy actions. I have been appointed to

 leadership in MDLs across the country. For example, I was selected as one of the members of

 plaintiffs’ leadership out of 16 applicants appointed to Plaintiffs’ Steering Committee in In re

 Sony Gaming Networks Customer Data Security Breach Litig., MDL No. 2258, by the

 Honorable Anthony J. Battaglia in the Southern District of California. I was also approved by

 Judge Jack Zouhary to serve on the Plaintiffs’ Executive Committee in a consolidated antitrust

 case, In re: Polyurethane Foam Antitrust Litig., in the United States District Court for the

 Northern District of Ohio, MDL No. 2196, which was considered one of the largest antitrust


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 cases in the last 10 years. I was also counsel for plaintiffs in In re Hulu Privacy Litigation,

 Northern District of California Case No. 3:11-cv-03764-LB, a case concerning Internet

 “cookies” and privacy issues. I am intimately familiar with the developing legal doctrines of

 cyberspace privacy law, and have published articles on Internet privacy issues, including my

 article “Privacy: Is it legal tracking or an illegal Wiretap?” published in the Advocate, July 2012.

        20.     The Court’s file reflects the experience in complex civil and class action litigation

 that gave rise to my firm’s appointment as co-lead counsel in this case and I will not further

 repeat it here. However, that experience leads me to conclude that this proposed settlement is

 fair and reasonable should be finally approved.

        21.     In sum, the proposed Settlement provides a reasonable and certain recovery to the

 Class against a formidable array of legal, factual, and procedural obstacles. It was reached only

 after substantial litigation and appellate work over the course of many years, and it was crafted

 by very experienced counsel on both sides who were intimately familiar with the facts and law

 applicable to the claims and defenses at the time it was negotiated and agreed upon. The

 proposed Settlement meets the criteria for final approval because it is fair, reasonable, and

 adequate under the circumstances.

        I declare under penalty of perjury under the laws of the United States of America that the

 foregoing is true and correct. Executed this 8th day of August, 2022, at Los Angeles, California.

                                                       ________/s/__Brian R. Strange________
                                                                    Brian Russell Strange




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                EXHIBIT A
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                      SETTLEMENT AGREEMENT AND RELEASE

 1. PREAMBLE

    1.1.   This class action Settlement Agreement and Release (“Agreement”) is entered into by
           and among the individuals and entities defined below as “Plaintiffs” and the
           individuals and entities defined below as “Google” where Plaintiffs and Google are
           collectively referred to herein as the “Parties.”

    1.2.   This Agreement is intended by the Parties to fully, finally, and forever resolve,
           discharge, and settle the Released Claims (as the term is defined below), upon and
           subject to the terms and conditions of this Agreement, and subject to preliminary and
           final approval of the Court.

 2. DEFINITIONS

    2.1.   “Agreement” means this Settlement Agreement and Release, including all exhibits.
    2.2.   “Civil Actions” or “Litigation” mean all of the civil actions that have been, will be, or
           could be transferred by the Judicial Panel on Multidistrict Litigation to the federal
           District Court for the District of Delaware (Judge Sue L. Robinson) for inclusion in In
           Re: Google Inc. Cookie Placement Consumer Privacy Litigation, No. 1:12-md-
           02358-SLR, including without limitation the following actions: 1:12-cv-00740-SLR,
           1:12-cv-00742-SLR, 1:12-cv-00744-SLR, 1:12-cv-00743-SLR, 1:12-cv-00741-SLR,
           1:12-cv-00739-SLR, 1:12-cv-00745-SLR, 1:12-cv-00794-SLR, 1:12-cv-00796-SLR,
           1:12-cv-00795-SLR, 1:12-cv-00800-SLR, 1:12-cv-00200-SLR, 1:12-cv-00792-SLR,
           1:13-cv-00560-SLR, 1:12-cv-00793-SLR, 1:12-cv-00797-SLR, 1:12-cv-00791-SLR,
           1:12-cv-00799-SLR, 1:12-cv-00798-SLR, 1:12-cv-00790-SLR, 1:12-cv-00789-SLR,
           1:12-cv-00962-SLR, 1:12-cv-00667-SLR, 1:12-cv-01000-SLR, 1:12-cv-01003-SLR,
           and 1:13-cv-00559-SLR.

    2.3.   “Class” means all persons in the United States of America who used the Apple Safari
           or Microsoft Internet Explorer web browsers and who visited a website from which
           Doubleclick.net (Google’s advertising serving service) cookies were placed by the
           means alleged in the Complaint.

    2.4.   “Class Counsel” means the attorneys appointed by the Court as “interim class counsel”
           in the Court’s order dated November 16, 2012 and any attorneys hereafter appointed
           by the Court to represent the Class for purposes related to this Agreement.

    2.5.   “Class Member” means any person who qualifies under the definition of the Class,
           excluding: (i) Google, its parent, subsidiaries, successors, affiliates, officers, and
           directors; (ii) the judge(s) to whom the Civil Actions are assigned and any member of
           the judges’ or judges’ immediate family; (iii) Persons who have settled with and
           released Google from individual claims substantially similar to those alleged in the
           Litigation; and (iv) Persons who submit a valid and timely Request for Exclusion.

    2.6.   “Class Representatives” mean Jose Bermudez, Nicholas Todd Heinrich, and Lynne
           Krause, acting either individually or through Class Counsel.

    2.7.   “Complaint” means the Consolidated Class Action Complaint filed on December 19,
           2012 and the Consolidated Amended Class Action Complaint submitted by
           stipulation on June 20, 2016 in the Litigation and attached as an exhibit hereto.

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    2.8.    “Court” means the federal District Court for the District of Delaware (Judge Sue L.
            Robinson) and any appellate court which may review any orders entered by the
            District Court related to this Agreement.

    2.9.    “Cy Pres Recipients” means any of the entities mutually agreed upon by the Parties
            and approved by the Court to receive a cy pres distribution from the Settlement Fund
            under this Agreement.

    2.10.   “Day” or “days” refer to calendar days.

    2.11.   “Effective Date” means the first date after either (i) the time to appeal the Final Order
            and Judgment has expired with no appeal having been filed or (ii) the Final Order and
            Judgment is affirmed on appeal by a reviewing court and no longer reviewable by any
            court.

    2.12.   “Execution” means the signing of this Agreement by all signatories hereto.

    2.13.   “Fee Award” means any attorneys’ fees, reimbursement of expenses, and other costs
            awarded by the Court to Class Counsel as allowed by this Agreement.

    2.14.   “Final Approval Hearing” means the hearing before the Court where (i) the Parties
            request that the Court approve this Agreement as fair, reasonable, and adequate; (ii)
            the Parties request that the Court enter its Final Order and Judgment in accordance
            with this Agreement; and (iii) Class Counsel request approval of their petition for
            reasonable attorneys’ fees and expenses, as well as any requested incentive award to
            the Class Representatives.

    2.15.   “Final Order and Judgment” means the order entered by the Court, in a form that is
            mutually agreeable to the Parties, approving this Agreement as fair, reasonable,
            adequate, and in the best interest of the Class as a whole, and making such other
            findings and determinations as the Court deems necessary and appropriate to
            effectuate the terms of this Agreement, without modifying any terms of this
            Agreement that either Party deems material.

    2.16.   “Google” means Google Inc. and all of its parent and subsidiary corporations and
            those acting on their behalf.

    2.17.   “Incentive Award” means any amount awarded by the Court to the Class
            Representatives as compensation for serving as Class Representatives.

    2.18.   “Notice Plan” means the planned method by which notice of this Agreement will be
            given to the Class.

    2.19.   “Notice of Proposed Class Action Settlement” means the notice described in the
            Notice Plan.

    2.20.   “Opt-Out Deadline” means the deadline for a Class Member to submit a Request for
            Exclusion as set forth in the Preliminary Approval Order and which will be no more
            than sixty (60) days from the completion date of the Notice of Proposed Class Action
            Settlement.

    2.21.   “Parties” means, collectively, the Plaintiffs and Google, and “Party” means any one
            of them.

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    2.22.   “Person” means an individual or legal entity, including an association, or his, her, or
            its respective estate, successors, or assigns.

    2.23.   “Plaintiffs” mean the Class Representatives acting on behalf of themselves and all
            Class Members.

    2.24.   “Preliminary Approval Order” means the order issued by the Court provisionally (i)
            granting preliminary approval of this Agreement; (ii) certifying the Class for
            settlement purposes; (iii) appointing Class Representatives and Class Counsel; (iv)
            approving the form and manner of the Notice Plan and appointing a Settlement
            Administrator; (v) approving the proposed Cy Pres Recipients; (vi) establishing
            deadlines for Requests for Exclusion and the filing of objections to the proposed
            settlement contemplated by this Agreement; (vii) finding that the Parties have
            complied with 28 U.S.C. § 1715; and (viii) scheduling the Final Approval Hearing.

    2.25.   “Released Claims” means any claims, complaints, actions, proceedings, or remedies
            of any kind (including, without limitation, claims for attorneys’ fees and expenses and
            costs) whether in law or in equity, under contract, tort or any other subject area, or
            under any statute, rule, regulation, order, or law, whether federal, state, or local, on
            any grounds whatsoever, arising from the beginning of time through the Effective
            Date, that were, could have been, or could be asserted by the Releasing Parties arising
            out of or relating to any acts, facts, omissions or obligations, whether known or
            unknown, whether foreseen or unforeseen, arising out of or relating to the Litigation
            or the subject matter of the Litigation.

    2.26.   “Released Parties” means Google, as well as any and all of its current or former
            directors, officers, members, administrators, agents, insurers, beneficiaries, trustees,
            employee benefit plans, representatives, servants, employees, attorneys, parents,
            subsidiaries, affiliates, divisions, branches, units, shareholders, investors, contractors,
            successors, joint venturers, predecessors, related entities, successors and assigns, and
            all other individuals and entities acting on Google’s behalf. This definition does not
            include Vibrant Media, Inc., Media Innovation Group, LLC, or WPP plc.

    2.27.   “Releasing Parties” means Plaintiffs and all Class Members, as well as their present,
            former, and future heirs, executors, administrators, estates, representatives, agents,
            attorneys, partners, successors, predecessors-in-interest, directors, officers, members,
            insurers, beneficiaries, trustees, employee benefit plans, servants, employees, parents,
            subsidiaries, affiliates, divisions, branches, units, shareholders, investors, contractors,
            joint venturers, related entities, and assigns, and all other individuals and entities
            acting on their behalf.

    2.28.   “Request for Exclusion” means the form that must be completed and returned in the
            manner and within the time period specified in this Agreement for a Class Member to
            request exclusion from the Class.

    2.29.   “Settlement Administrator” means a third-party class action settlement administrator
            to be selected by the Parties’ mutual agreement to implement aspects of this
            Agreement.

    2.30.   “Settlement Fund” means the $5,500,000 total sum that Google will pay in
            connection with this Agreement, deposited into a common fund for payment of (i)
            distributions to Cy Pres Recipients, (ii) the Fee Award, (iii) the Incentive Awards, and
            (iv) all settlement administration and notice costs.

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 3. RECITALS

    3.1.   On February 17, 2012 and over the following weeks, multiple putative class actions
           were filed in federal district courts throughout the United States against Google (and
           other defendants) based generally on allegations that Google’s placement of a
           browser cookie from the doubleclick.net domain on Safari and Internet Explorer
           browsers circumvented the default browser settings that Plaintiffs believed were
           designed to block such cookie placement.

    3.2.   On June 12, 2012, the U.S. Judicial Panel on Multidistrict Litigation transferred these
           actions to the District of Delaware as In re: Google Inc. Cookie Placement Consumer
           Privacy Litigation, Civ. No. 12-MD-2358-SLR. A consolidated class action
           complaint was filed by Plaintiffs on December 19, 2012. On October 9, 2013, the
           District Court granted a motion by Google to dismiss all claims against Google. On
           November 10, 2015, following an appeal by Plaintiffs, the United States Court of
           Appeal for the Third Circuit affirmed dismissal of all but two claims: a claim for
           intrusion upon seclusion under California common law and a claim for violation of
           the California Constitution’s right to privacy. On March 10, 2016, Plaintiffs filed a
           petition for certiorari with the United States Supreme Court, which petition is
           currently pending. On May 10, 2016 (after the Parties had reached a settlement
           agreement at mediation as described below but before this Agreement was drafted),
           the United States Supreme Court requested Google and other defendants to respond to
           the petition for certiorari.

    3.3.   On May 9, 2016, the Parties participated in an all-day mediation with former Judge
           Layn Phillips that resulted in this Agreement to settle the Litigation on a class-wide
           basis.

    3.4.   Plaintiffs have conducted meaningful investigation and analyzed and evaluated the
           merits of the claims made to date against Google, and the impact of this Agreement
           on Plaintiffs and the Class, and based upon that analysis and the evaluation of a
           number of factors, and recognizing the substantial risks of continued litigation,
           including the possibility that the Litigation, if not settled now, might not result in any
           recovery whatsoever for the Class, or might result in a recovery that is less favorable
           to the Class, and that any such recovery would not occur for several years, Plaintiffs
           are satisfied that the terms and conditions of this Agreement are fair, reasonable, and
           adequate, and that this Agreement is in the best interest of the Class.

    3.5.   Google has denied and continues to deny each allegation and all charges of
           wrongdoing or liability of any kind whatsoever asserted or that could have been
           asserted in the Litigation.

    3.6.   While Plaintiffs believe these claims possess substantial merit and while Google
           vigorously disputes such claims, without in any way agreeing as to any fault or
           liability, the Parties have agreed to enter into this Agreement as an appropriate
           compromise of the Class claims to put to rest all controversy and to avoid the
           uncertainty, risk, expense, and burdensome, protracted, and costly litigation that
           would be involved in prosecuting and defending the Litigation.

    3.7.   The Parties therefore agree that, in consideration for the undertakings, promises, and
           payments set forth in this Agreement and upon the entry by the Court of a Final Order
           and Judgment approving and directing the implementation of the terms and
           conditions of this Agreement, the Litigation will be settled and compromised upon
           the terms and conditions set forth below.
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 4. RESTRICTIONS ON USE OF THIS AGREEMENT

    4.1.   This Agreement is for settlement purposes only and is entered into as a compromise
           to avoid the inherent risks and expenses posed by continued litigation of the claims in
           the Litigation. Neither the fact nor content of this Agreement, nor any action based on
           it, will constitute, be construed as, or be admissible in evidence as an admission of the
           validity of any claim, of any fact alleged in the Litigation or in any other pending or
           subsequently filed action, or of any wrongdoing, fault, violation of law, or liability or
           non-liability, wrongdoing, fault, or violation of law or fact alleged in the Civil
           Actions.

    4.2.   Subject to approval by the Court, Google conditionally agrees and consents to
           certification of the Class for settlement purposes only and within the context of this
           Agreement only. If this Agreement, for any reason, is not approved or is otherwise
           terminated, Google reserves the right to assert any and all objections and defenses to
           certification of a litigation class, and neither this Agreement nor any order or other
           action relating to this Agreement will be offered as evidence in support of a motion to
           certify a class for a purpose other than settlement pursuant to this Agreement.

 5. RELIEF

    5.1.   Assurance of Remediation. Google will provide Class Counsel with assurances that it
           implemented systems configured to instruct Safari brand web browsers to expire any
           cookie placed from the doubleclick.net domain by Google through February 15, 2012
           if those systems encountered such a cookie, with the exception of the DoubleClick
           opt-out cookie, until the time that all cookies placed from the doubleclick.net domain
           by Google on Safari brand web browsers through February 15, 2012 should have
           expired by design.

    5.2.   Settlement Fund.

           5.2.1. Google will deposit in an interest-bearing bank account designated and
                  controlled by the Settlement Administrator the total sum of $5,500,000. That
                  Settlement Fund will represent the total monetary obligations of Google under
                  this Agreement, and the Settlement Administrator will draw from the
                  Settlement Fund to cover all obligations with respect to costs related to this
                  Agreement, including the expenses of the Settlement Administrator, the
                  Notice Plan, payments to Cy Pres Recipients, any Incentive Awards, the Fee
                  Award, and any other administrative fees and expenses in connection with this
                  Agreement; provided, however, that the Parties must approve any payments to
                  the Settlement Administrator prior to the Settlement Administrator incurring
                  such expenses.

           5.2.2. A first installment of $500,000.00 will be deposited within 21 days of entry of
                  the Preliminary Approval Order. The remaining $5,000,000.00 will be
                  deposited within 21 days of the Effective Date. If this Agreement is
                  terminated, the Settlement Administrator will return all funds to Google
                  within ten (10) days of the termination date; provided, however, that the
                  Settlement Administrator need not return any funds already spent on notice
                  and on reasonable Settlement Administrator expenses before the termination
                  date.



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           5.2.3. Other than the Settlement Fund, Google will have no financial obligations to
                  Plaintiffs, the Class, the Cy Pres Recipients, or the Settlement Administrator
                  under this Agreement.

    5.3.   Cy Pres Recipients.

           5.3.1. Within 21 days after Execution, Plaintiffs will provide Google with a list of at
                  least 10 proposed Cy Pres Recipients. Google may strike any proposed
                  recipient from this list for a non-arbitrary reason and request that Plaintiffs
                  propose a different recipient and Plaintiffs shall do so until the Parties can
                  agree on a final list of proposed recipients. The final list of proposed Cy Pres
                  Recipients mutually agreed upon by the Parties will be submitted to the Court
                  for the Court’s approval with the motion for preliminary approval of this
                  Agreement.

           5.3.2. As a condition to receiving a distribution under this Agreement, each Cy Pres
                  Recipient must agree to devote the funds to promote public awareness and
                  education, and/or to support research, development, and initiatives, related to
                  the security and/or privacy of Internet browsers. If any Cy Pres Recipient does
                  not agree to these conditions, then its portion will be distributed pro rata to the
                  other identified recipients; if no recipient agrees to the conditions, or if the
                  Court so requires, the Parties will meet and confer to identify other
                  appropriate recipients.

           5.3.3. The total distribution from the Settlement Fund to the Cy Pres Recipients will
                  equal the total amount of the Settlement Fund, including any accrued interest,
                  less all expenses for the Settlement Administrator, the Notice Plan, the Fee
                  Award, the Incentive Awards, and any other administrative and notice costs or
                  other expenses in connection with this Agreement.

           5.3.4. Because the Cy Pres Recipients will receive the remaining amounts due after
                  all other payment obligations are met, no portion of the Settlement Fund or
                  interest thereon will revert to Google.

           5.3.5. The Settlement Administrator will make payments to the Cy Pres Recipients
                  within 60 days after the Effective Date.

    5.4.   No Tax Liability. Under no circumstances will Google have any liability for taxes or
           the tax expenses of any Person that receives a portion of the Settlement Fund under
           this Agreement.

 6. SUBMISSION FOR PRELIMINARY APPROVAL

    6.1.   Within 60 days after Execution, Class Counsel will submit this Agreement to the
           Court and request that the Court enter the Preliminary Approval Order in a form
           mutually agreed to by the Parties.

    6.2.   Class Counsel will take any acts reasonably necessary to carry out this Agreement’s
           expressed intent.

 7. NOTICE OF PROPOSED CLASS ACTION SETTLEMENT

    7.1.   The Settlement Administrator will be allocated up to $500,000.00 out of the
           Settlement Fund to implement a Notice Plan, subject to the Parties’ agreement in
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           consultation with the Settlement Administrator and further subject to Court approval
           as part of the Preliminary Approval Order and consistent with the requirements of due
           process.

    7.2.   The Parties shall agree to the Notice Plan before submission of this Agreement for
           preliminary approval. The specific text and content of the Notice Plan and Notice of
           Proposed Class Action Settlement will be mutually agreed upon by the Parties,
           subject to Court approval.

    7.3.   Although the Settlement Administrator may purchase commercial services at standard
           rates from Google as part of the Notice Plan, Google has no obligation to otherwise
           facilitate delivery of the Notice of Proposed Class Action Settlement. For example,
           Google will have no obligation to search and provide information relating to the Class
           or to send bulk email messages to any Person or group of Persons.

    7.4.   Within 10 days after the filing of this Agreement with the Court, the Settlement
           Administrator shall notify the appropriate state and federal officials of this Agreement
           pursuant to the Class Action Fairness Act of 2005, 28 U.S.C. § 1715.

 8. CLASS MEMBERS’ RIGHT OF EXCLUSION/INCLUSION

    8.1.   A Class Member may request exclusion from the Class up until the Opt-Out Deadline.
           To request exclusion, the Class Member must complete, sign, and mail to the
           Settlement Administrator a Request for Exclusion, using a form to be agreed on by
           the Parties. The Request for Exclusion must be signed by the Class Member seeking
           exclusion under penalty of perjury. The Request for Exclusion must be postmarked
           on or before the Opt-Out Deadline. Any Person who submits a valid and timely
           Request for Exclusion shall not be entitled to relief under, and shall not be affected by,
           this Agreement or any relief provided by this Agreement.

    8.2.   The Parties shall have the right to challenge the timeliness and validity of any
           Request for Exclusion. The Court shall determine whether any contested exclusion
           request is valid.

    8.3.   Within 10 days after the Opt-Out Deadline, the Settlement Administrator will provide
           the Parties a list of all Persons who opted out by validly requesting exclusion.

 9. OBJECTIONS

    9.1.   Any Class Member who does not submit a valid and timely Request for Exclusion
           may object to the fairness, reasonableness, or adequacy of this Agreement. Class
           Members may not seek to exclude themselves from the Class and submit an objection
           to this Agreement.

    9.2.   No later than 21 days before the Final Approval Hearing, any Class Member who
           wishes to object to any aspect of this Agreement must send to the Settlement
           Administrator, Class Counsel, and Google’s counsel, and file with the Court, a
           written statement of the objection(s). The written statement of the objection(s) must
           include (i) a detailed statement of the Class Member’s objection(s), as well as the
           specific reasons, if any, for each objection, including any evidence and legal authority
           the Class Member wishes to bring to the Court’s attention and any evidence the Class
           Member wishes to introduce in support of his/her objection(s); (ii) the Class
           Member’s full name, address and telephone number; and (iii) information

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            demonstrating that the Class Member is entitled to be included as a member of the
            Class.

    9.3.    Class Members may raise an objection either on their own or through an attorney
            hired at their own expense. If a Class Member hires an attorney other than Class
            Counsel to represent him or her, the attorney must (i) file a notice of appearance with
            the Court no later than 21 days before the Final Approval Hearing or as the Court
            otherwise may direct, and (ii) deliver a copy of the notice of appearance on Class
            Counsel and Google’s counsel, no later than 21 days before the Final Approval
            Hearing. Class Members, or their attorneys, intending to make an appearance at any
            hearing relating to this Agreement, including the Final Approval Hearing, must
            deliver to Class Counsel and Google’s counsel, and file with the Court, no later than
            21 days before the date of the hearing at which they plan to appear, or as the Court
            otherwise may direct, a notice of their intention to appear at that hearing.

    9.4.    Any Class Member who fails to comply with the provisions of the preceding
            subsections shall waive and forfeit any and all rights he or she may have to appear
            separately and/or object, and shall be bound by all the terms of this Agreement and by
            all proceedings, orders, and judgments in the Litigation.

 10. RELEASES; EXCLUSIVE REMEDY; DISMISSAL OF ACTIONS

    10.1.   Upon entry of the Final Order and Judgment, and regardless of whether any Class
            Member executes and delivers a written release, each Plaintiff and each Class
            Member (each of whom is a Releasing Party) shall be deemed to waive, release and
            forever discharge Google and the Released Parties from all Released Claims. No
            Released Party will be subject to any liability or expense of any kind to any Releasing
            Party with respect to any Released Claim.

    10.2.   Upon entry of the Final Order and Judgment, the Releasing Parties, and each of them,
            will be deemed to have, and will have, expressly waived and relinquished, to the
            fullest extent permitted by law, the provisions, rights and benefits of Section 1542 of
            the California Civil Code, which provides as follows:

            A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS WHICH THE
            CREDITOR DOES NOT KNOW OR SUSPECT TO EXIST IN HIS OR HER
            FAVOR AT THE TIME OF EXECUTING THE RELEASE, WHICH IF KNOWN
            BY HIM OR HER MUST HAVE MATERIALLY AFFECTED HIS OR HER
            SETTLEMENT WITH THE DEBTOR.

    10.3.   Upon entry of the Final Order and Judgment, the Releasing Parties, and each of them,
            will be deemed to have, and will have, waived any and all provisions, rights and
            benefits conferred by any law of any state or territory of the United States, or
            principle of common law, or the law of any jurisdiction outside of the United States,
            which is similar, comparable or equivalent to Section 1542 of the California Civil
            Code. Plaintiffs acknowledge that they may discover facts in addition to or different
            from those that they now know or believe to be true with respect to the subject matter
            of this release, but that it is their intention to finally and forever to settle and release
            the Released Claims, notwithstanding any unknown claims they may have.

    10.4.   This Agreement shall be the sole and exclusive remedy for any and all Released
            Claims. Upon entry of the Final Order and Judgment, each Class Member shall be
            barred from initiating, asserting, or prosecuting any Released Claims against the
            Released Parties.
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    10.5.   Upon entry of Final Order and Judgment, the Civil Actions shall be dismissed with
            prejudice.

 11. CLASS COUNSEL FEES AND COSTS AND INCENTIVE AWARDS

    11.1.   Plaintiffs may apply to the Court seeking a reasonable proportion of the Settlement
            Fund as payment of any reasonable attorneys’ fees and costs (the Fee Award) and any
            Incentive Award in recognition of the Class Representatives’ efforts on behalf of the
            Class as appropriate compensation for their time and effort expended in serving the
            Class.

    11.2.   Google will not contest a total amount of Fee Award and Incentive Awards (not to
            exceed $1,000 per Class Representative) up to $2,500,000.00.

    11.3.   It is not a condition of this Agreement that any particular amount of attorneys’ fees,
            costs or expenses or incentive awards be approved by the Court, or that such fees,
            costs, expenses or awards be approved at all. Any order or proceeding relating to the
            amount of any award of attorneys’ fees, costs, or expenses or inventive awards, or
            any appeal from any order relating thereto, or reversal or modification thereof, shall
            not operate to modify, terminate or cancel this Agreement, or affect or delay the
            finality of the Final Order and Judgment, except that any modification, order or
            judgment cannot result in Google’s overall obligation exceeding the agreed-upon
            amount of the Settlement Fund.

    11.4.   The Settlement Administrator shall pay the Fee Award and Incentive Awards out of
            the Settlement Fund within 31 days of the Effective Date.

    11.5.   Except as otherwise provided in this section, each Party will bear its own costs,
            including attorneys’ fees, incurred in connection with the Litigation.

 12. TERMINATION OF THE AGREEMENT

    12.1.   The performance of this Agreement is expressly contingent upon achieving the
            Effective Date. This includes both (i) the entry of the Preliminary Approval Order
            approving this Agreement, including the Notice Plan and the selection of the Cy Pres
            Recipients, and the Final Order and Judgment approving this Agreement and the
            expiration of all appeal periods and appeal rights without modification to the Final
            Order and Judgment that any Party deems material. If the Court fails to issue either (1)
            the Preliminary Approval Order or (ii) the Final Order and Judgment approving this
            Agreement without modification that any Party deems material following conclusion
            of the Final Approval Hearing, this Agreement will be deemed terminated.

    12.2.   If the Final Order and Judgment is vacated, modified in a manner deemed material by
            any Party, or reversed, in whole or in part, this Agreement will be deemed terminated
            (except with respect to rulings on any Fee Award), unless all Parties who are
            adversely affected thereby, in their sole discretion within thirty (30) days of receipt of
            such ruling, provide written notice to all other Parties of their intent to proceed with
            this Agreement as modified.

    12.3.   If this Agreement is deemed terminated by refusal of the Court to approve or affirm
            approval of the Agreement, it will have no force or effect whatsoever, shall be null
            and void, and will not be admissible as evidence for any purpose in any pending or
            future litigation in any jurisdiction.

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 13. CONFIDENTIALITY

    13.1.   Other than responses to inquiries from governmental entities or as necessary to
            comply with federal and state tax and securities laws or comply with the terms of this
            Agreement, no Party shall initiate any publicity relating to or make any public
            comment regarding this Agreement until a motion seeking the Preliminary Approval
            Order is filed with the Court.

    13.2.   Unless and until all Parties execute this Agreement and present it to the Court in a
            motion seeking the Preliminary Approval Order, the Parties agree that all terms of
            this Agreement will remain confidential and subject to Federal Rule of Evidence 408.

    13.3.   Notwithstanding anything to the contrary in this Agreement, including Paragraphs
            13.1 and 13.2, the Parties shall be entitled to make filings with the Supreme Court and
            United States District Court for the District of Delaware that disclose the fact that
            they have reached a classwide settlement.

 14. ENFORCEMENT OF THE AGREEMENT

    14.1.   The Court will retain jurisdiction to enforce the terms of this Agreement, and all
            Parties hereto submit to the jurisdiction of the Court for purposes of implementing
            and enforcing the settlement embodied in this Agreement. As part of its continuing
            jurisdiction, the Court may amend, modify or clarify orders issued in connection with
            this settlement upon good cause shown by a party. No other court or tribunal will
            have any jurisdiction over claims or causes of action arising under this Agreement.

    14.2.   This Agreement will be governed by and construed in accordance with the internal
            laws of the State of California without regard to conflicts of law principles that would
            direct the application of the laws of another jurisdiction.

    14.3.   The prevailing party in any action or proceeding in which is asserted a claim or cause
            of action arising under this Agreement will be entitled to recover all reasonable costs
            and attorneys’ fees incurred in connection with the action or proceeding.

 15. MISCELLANEOUS

    15.1.   This Agreement, including all attached exhibits, shall constitute the entire agreement
            among the Parties (and covering the Parties and the Class) with regard to the subject
            matter of this Agreement and shall supersede any previous agreements and
            understandings between the Parties.

    15.2.   This Agreement may not be changed, modified or amended except in writing signed
            by Class Counsel and Google’s counsel, subject to Court approval if required.

    15.3.   Each Party represents and warrants that it enters into this Agreement of his, her, or its
            own free will. Each Party is relying solely on its own judgment and knowledge and is
            not relying on any statement or representation made by any other Party or any other
            Party’s agents or attorneys concerning the subject matter, basis, or effect of this
            Agreement.

    15.4.   This Agreement has been negotiated at arm’s length by Class Counsel and Google’s
            counsel. In the event of any dispute arising out of this Agreement, or in any
            proceeding to enforce any of the terms of this Agreement, no Party shall be deemed to
            be the drafter of this Agreement or of any particular provision or provisions, and no
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            part of this Agreement shall be construed against any Party on the basis of that
            Party’s identity as the drafter of any part of this Agreement.

    15.5.   The Parties agree to cooperate fully and to take all additional action that may be
            necessary or appropriate to give full force and effect to the basic terms and intent of
            this Agreement.

    15.6.   This Agreement shall be binding upon and inure to the benefit of all the Parties and
            Class Members, and their respective representatives, heirs, successors, and assigns.

    15.7.   The headings of the sections of this Agreement are included for convenience only and
            shall not be deemed to constitute part of this Agreement or to affect its construction.

    15.8.   Prior to pursuing relief or submitting any dispute relating to this Agreement or the
            Litigation to the Court, the Parties and Class Counsel agree to mediate the dispute
            before Layn Phillips in Newport Beach, California.

    15.9.   Any notice, instruction, court filing, or other document to be given by any Party to
            any other Party shall be in writing and delivered personally or sent by registered or
            certified mail, postage prepaid, or overnight delivery service to the respective
            representatives identified below or to other recipients as the Court may specify. As of
            the date of this Agreement, these respective representatives are as follows:

            For the Class:                                     For Google:

            Stephen G. Grygiel                                 Michael H. Rubin
            Silverman Thompson Slutkin White                   Wilson Sonsini Goodrich & Rosati
            26th Floor                                         One Market Plaza
            201 N. Charles Street                              Spear Tower, Suite 3300
            Baltimore, MD 21201                                San Francisco, CA
            sgrygiel@mdattorney.com                            mrubin@wsgr.com

            Brian R. Strange                                   Anthony J Weibell
            Strange & Butler                                   Wilson Sonsini Goodrich & Rosati
            12100 Wilshire Boulevard, Suite 1900               650 Page Mill Road
            Los Angeles, CA 90025                              Palo Alto, CA 94304-1050
            bstrange@strangeandbutler.com                      aweibell@wsgr.com

            James P. Frickleton
            Bartimus, Frickleton, & Robertson, P.C.
            11150 Overbrook Road, Suite 200
            Leawood, KS 66211
            jimf@bflawfirm.com


    15.10. The Parties each represent and warrant that they have not sold, assigned, transferred,
           conveyed, subrogated, or otherwise disposed of any claim or demand covered by this
           Agreement. If a Class Member has sold, assigned, transferred, conveyed, subrogated
           or otherwise disposed of any claim or demand, the Person that acquired such claim or
           demand is bound by the terms of this Agreement to the same extent as the Class
           Member would have been but for the sale, assignment, transfer, conveyance, or other
           disposition.


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    15.11. The respective signatories to this Agreement each represent that they are fully
           authorized to enter into this Agreement on behalf of the respective Parties.

    15.12. The waiver by one Party of any breach of this Agreement by any other Party will not
           be deemed as a waiver of any other prior or subsequent breaches of this Agreement.

    15.13. All of the Exhibits to this Agreement are material and integral parts thereof and are
           fully incorporated herein by this reference.

    15.14. This Agreement may be executed in one or more counterparts, and may be executed
           by facsimile or electronic signature. All executed counterparts and each of them will
           be deemed to be one and the same instrument.

    15.15. This Agreement will be binding upon, and inure to the benefit of, the successors and
           assigns of the Parties hereto and the Released Parties.


                           [SIGNATURES ON FOLLOWING PAGE]




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 THIS SETTLEMENT AGREEMENT AND RELEASE IS AGREED TO AND APPROVED BY:



                         Plaintiffs and Class Representatives


 ______________________________                      24 June 2016
                                              ____________________________
 Jose Bermudez                                            Date


 ______________________________               ____________________________
 Nicholas Todd Heinrich                                   Date


 ______________________________               ____________________________
 Lynne Krause                                             Date


                                   Class Counsel


 ______________________________               ____________________________
 Stephen G. Grygiel                                       Date


 ______________________________               ____________________________
 Brian R. Strange                                         Date


 ______________________________               ____________________________
 James P. Frickleton                                      Date


                                     Google Inc.



 _____________________________                ____________________________
                                                          Date




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                EXHIBIT B
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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE

IN RE: GOOGLE, INC. COOKIE            :
PLACEMENT CONSUMER PRIVACY            :     Civ. No. 12-MD-2358
LITIGATION                            :

                                    O R D E R


             AND NOW, this 15th day of October, 2021, upon

consideration of Plaintiff’s motion for preliminary approval of

the class action settlement (ECF No. 193) and the supplement

thereto, and after a hearing on February 25, 2021, it is hereby

ORDERED that the Court:

      1.     preliminarily certifies the settlement class which

consists of:

All Persons in the United States of America who used the Apple Safari
or Microsoft Internet Explorer web browsers and who visited a website
from which Doubleclick.net (Google’s advertising serving service)
cookies were placed by the means alleged in the Complaint

after concluding that:

             a.    the numerosity, commonality, typicality, and

adequacy of representation requirements of Federal Rule of Civil

Procedure 23(a) have been met;

             b.    the injunctive class requirements of Federal rule

of Civil Procedure 23(b)(2) have been met in that the class is

sufficiently cohesive and is capable of being described in a

readily discernible way; and

             c.    the monetary relief class predominance and

superiority requirements of Federal Rule of Civil Procedure

23(b)(3) have been met, as have the portions of the Third
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Circuit’s ascertainability inquiry that are relevant to a

settlement class;

      2.      preliminarily finds the settlement fair and reasonable

and that counsel have adequately shown at this stage that the

Federal Rule of Civil Procedure 23(e)(2), Girsh, and Prudential

factors weigh in favor of the settlement; 1 and

      3.     re-approves the form and method of notice originally

provided by counsel, but will require counsel to re-distribute the

notice and set new deadlines for objections and opt-outs given

that the proposed settlement has been altered following remand by

the Third Circuit Court of Appeals. 2 By November 14, 2021, counsel

shall provide the Court with a timeline for notice and objections

and for the earliest date on which the Court can schedule a final

fairness hearing.



             AND IT IS SO ORDERED.


                                      /s/ Eduardo C. Robreno
                                      EDUARDO C. ROBRENO,    J.




1         The Court retains concerns about the ultimate fairness
of a class settlement which provides a cy pres only fund, half of
which will go towards counsel and administration fees, in exchange
for the release of all monetary claims of a class of unknown and
unknowable size. However, the Court will reserve its ultimate
judgment until all interested parties have been heard.

2         This new notice period will not negate the fifty opt-
outs that were received during the original notice period.
Instead, those fifty will be added to any additional opt-outs
submitted during the new notice period.
